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         5       RONALD LEE STUCKER, and
                 MARCINE ANN STUCKER
         6

         7                                      UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF CALIFORNIA
         8                                                SACRAMENTO
         9

        10
                 In re:                                           Case No.: 13−34790 – D – 7
        11
                                                                  Adv. Proc. 15-02027 – D
        12       RONALD LEE STUCKER, and
                 MARCINE ANN STUCKER,
        13

        14                                                        STIPULATION TO ENTRY OF JUDGMENT
                                                                  DETERMINING DISCHARGEABILITY OF
        15                                           Debtors.     INCOME TAXES

        16       RONALD LEE STUCKER, and
                 MARCINE ANN STUCKER,
        17

        18                                          Plaintiffs,
                           v.
        19

        20       OKLAHOMA TAX COMMISSION,
        21

        22                                         Defendants.

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        25                RONALD LEE STUCKER and MARCINE ANN STUCKER (the “Plaintiff”), and the
        26
                 OKLAHOMA TAX COMMISSION (the “Defendant”), hereby agree and stipulate that judgment
        27
                 may be entered in this adversary proceeding on the following terms:
        28
                 STIPULATION TO ENTRY OF JUDGMENT                  1
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         1

         2           1. Income tax debt due from Plaintiff to the Defendant for taxable year 1981, including all

         3               interest and penalties arising therefrom, is dischargeable in the Plaintiff’s bankruptcy case;

         4               and
         5
                     2. Each party shall bear their own attorney’s fees and costs of the suit incurred herein.
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         7               IT IS SO STIPULATED.

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                                                               LAW OFFICE OF STEPHEN MURPHY:
        10

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        12       Dated: February 24, 2015                      /s/ Stephen N. Murphy
                                                               STEPHEN N. MURPHY
        13
                                                               Attorney for Ronald Lee Stucker, and
        14                                                     Marcine Ann Stucker
        15

        16

        17                                                     OKLAHOMA TAX COMMISSION:
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        19
                 Dated: February 24, 2015                      /s/ Sean R. McFarland
        20
                                                               SEAN R. MCFARLAND
        21                                                     Attorney for the Oklahoma Tax Commission

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                 STIPULATION TO ENTRY OF JUDGMENT                   2
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